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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 PINE BLUFF DIVISION

                                    THIS IS A CAPITAL CASE


ALVIN BERNAL JACKSON                                                              PETITIONER

                                     No. 5:03-CV-00405 SWW

LARRY NORRIS, Director,                                                RESPONDENT
Arkansas Department of Correction,

                                               ORDER

       By order and judgment and decree entered March 23, 2020, the Court granted habeas

relief as to the claim that Petitioner is ineligible for the death penalty under Atkins v. Virginia,

536 U.S. 304, 122 S. Ct. 2242 (2002). The judgment and decree require that the State reduce

Petitioner’s sentence to life imprisonment without parole. The State has filed a notice of appeal

and moves for a stay of the judgment and decree pending appeal [ECF No. 135]. Petitioner has

filed a response [ECF No. 139] stating that he does not oppose a stay pending appeal.

       IT IS THEREFORE ORDERED that Petitioner’s motion [ECF NO. 135] is GRANTED.

The judgment and decree entered on March 23, 2020 is stayed until the United States Court of

Appeals for the Eighth Circuit issues its mandate at the conclusion of the appeal of this matter.

       IT IS SO ORDERED THIS 26th DAY OF MAY, 2020.

                                               /s/Susan Webber Wright
                                               UNITED STATES DISTRICT JUDGE
